Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 1 of 32 Page|D #: 4

E><h:b%% "/‘} "

Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 2 of 32 Page|D #: 5

THE CIRCUIT COURT _OF ASHLEY COUNTY, ARKANS__AS
CIVIL DIVISION

BRIAN~sKE"NDER PLAINTIFF
v`S. No. Cv_2017-042-1

c. MARSHALL FRLEDMA_N, P.C.,
c. MARsHALL FRIEDMAN AND 7 1
KENNETH E._ RUDD, Jor_NTLY AND sEvERALLY DEFENDANTS

.SUMMONS
TH]Z STATE OF ARKANSAS TO DEFENDANT:

c. MARSHALL FRIEDMAN
1010 MARKET sTREET
sT. louis, Mo 63101

A lawsuit _has been filed against you. The relief demanded is stated in the attached
complaint. Within 30 days after service of this summons on von (not counting the day
you received it) -- or 60 ,,days ifyou are incarcerated in anyjail, penitentiary, or other
correctional facility 1n Arkansas_ _You must file with the clerk of tl'ns court a written
answer to the complaint or a motion under Rule.12 of the Arkansas Rules of Civil
Procedure.

The answer or motion must also be served on ltlie plaintiff ~or plaintist attorney, whose

name and address are:
-John Ogles Ogles Law Fi`rm, -P.A., P_.O. Box 891, Jacksonville, AR 72078.

   
 
 
 

entered against You for the relief demanded` in the complaint

CLERK O_F CO_URT
Add_ress of Clerk's Ofiice
205 E. JEFFER$ON STREET
HAMBURG, AR 71646

 

[Signatur of Clerk or Deputy Clerk]
Date:. "i)"` \(3' \"l
`[SE'AL] `

' Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 3 of 32 Page|D #: 6

.No. CV-2017-042-1 This summons is_fo-r _C. Marshall 'Friedman (name of
Defendant). `

PRo_oF 01= sEvacE

-E] I personally delivered the summons and complaint to `the individual at
l 7 [place] on

[date]; or

 

l:l I left the summons and complaint in `the proximity of the individuall by
` ' . after lie/she refiised to receive it when I offered it to

him/her; or

El I left the summons and complaint at the individual's dwelling house or usual place of
abode at‘. . [address] with |'name]., a
person at least 14 years of age who resides there, on ` _ ' [date]; or

I:l I delivered the summons and complaint to [na_me of
individual], an agent authorized by appointmentor by law to receive service of
summons on behalf of ' [name o_fde_fendant] on
[date]; or

|:| I am the plaintiff or an attorney of record for the plaintiff in this lawsuiti and 1 served
the summons and complaint on the defendant b_y certified mail, return receipt
requested, restricted delivery, as shown_by the attached signed return receipt.

|:| I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed
a copy of the summons and complaint -by first-class mail to the defendant together with
two copies of a notice and acknowledgment and received the attached notice and
acknowledgment form within twenty days after the date of mailing

l:l ’Other [specil"yrl:

 

I:l I was unable to execute service because:

 

 

My fee is s '_

_ Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 4 of 32 Page|D #: 7

THE CIRCUIT COURT OF ASHLEY CO_UNT-'Y, ARKANSAS
CIVIL DIVISION '

BRIAN sKENDER PLAINTIFF
VS. NO. Cv-20`17-042-1

C. MARSHALL PRIEDMAN, P.'C.,
C. MARSHA_LL PRIEDMAN AND _¢ _
KENNETH E. RUDD, onNTLY AND sEvERALLY DEFENDANTS

s.UMMoNs
THE sTA'rE 0FARKANSAS To DEFENDANT:

KENNETH E. RUDD
2434 DELTART ROAD
WILDWOOD, MO 63038

_A lawsuit has been filed against you. The relief demanded is stated in the attached
complaint-. Within 30 days after service of this summons on you (not counting the day
you received it) _ or 60 days if you are incarcerated in any _]ail penitentiary, or other
correctional facility in Arkansas you must file with the clerk of this court a written
answer to the complaint or a motion under Rule 12 of the Arl;ansa_s Rules of Civil

Procedure, .

The answer or motion must also be served on the plaintiff or plaintist attorney, whose

name and address are: _ 7
John Ogles Ogles Law Firm, P.A., P. O. Box 891 ,__Iaclcsonville, AR 72078.

If you fail to respond within th_e applicable time period, judgment by default may b
entered against you for the relief demanded in the complaint _ "

   
  
 

CLERK OF COURT
Address of Clerk's lOffice `
205 E. JE_EFERSON S_TREET
HAMBURG, AR 7`1646

 

_ [Signa of Clerk or Deputy Clerk]
Date:_ q "' ll§"" l"`l
[SEAL]

_ `.Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 5 of 32 Page|D #: 8

No. CV-2017-042-1 This'summon_s is for Ke_iiiietli Ei Rudd (name ochfendanij.
PROOF-OF SERVICE

|I| l personally delivered the summons and complaint`to the individual at
[place] On

[date]; or

|:l I left the summons and complaint in the proximity of the individual by
after he/she refused to receive it when I offered it to

 

 

him/her; or
l:| I left the summons and complaint at the individual's dwelling house or usual place of
abode at _ |'address] with _ fnam`e], a

 

person at least 14 years of age who resides there, on , [date]; or

 

 

l`_`| I delivered the summons and complaint to _ [name of
individual], an agent authorized by appointment or by law to receive service of
summons on behalf of . [name of defendant] on

[date]; or ' '

 

EI lam the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served
the summons and complaint on the defendant by certified mail, return receipt
requested, restricted delivery, as shown by the attached signed return receipt

E| I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed
a copy of the summons and complaint by first-class mail to the defendant together with
two copies of a notice and acknowledgment and received the attached notice and
acknowledgment form within twenty days after the date of mailing.

E| Other ispecify]:_

 

 

l:| Iwas unable to execute service because:

 

l_Vly fee.is $

.-Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 6 of 32 Page|D #: 9

To be completed if service is by a sheriff or deputy sheriff:

Date: SHERIFF OF COUN"[Y, A._RKANSAS

By: - 1 .
[Signature Of server]

 

[Printed name, title, and badge number]
To be completed if.service is"by a person other than a sheriff or deputy sheriff:

Date: 'BY: ____._..__.-
` [Signature of server]

 

[PrintedTname]

Address:

 

 

Phone:

 

Subscribed and sworn to before me this date:_

 

Notary Public

My commission expires:

 

Additional information regarding service or attempted service:

 

 

Case 1:17-cv-OlO25-SOH Document 1-1 Filed 03/31/17 Page 7 of 32 Page|D #: 10

.IN THE cIRcUrr CoURT or ASHLEY coUNr.Y, ARKANSAS
BRIAN sKENDER PLAanIFF
vs. 'No.§ ¢U ~2 O/ 7'£5%? ’ {

C. MARSHALL FRIEDMAN, P.C.,
C. MARSHALL FR[E.DMAN AND
KENNETH E. RUDD, JOINTLY AND SEVERALLY DEFENDANTS

COMPM| Nflf
Comes the Plaintiff, Brian Skender, by and through his attorneys, J olin Ogles and Sandra C.
‘ Bradshaw, and for his cause of action for legal malpractice and fraud, against Defendants, C.

Marshall Friedman, .P.C., C. Marshall Friedman and Kenneth E. Rudd, jointly and severally, states:

1. That Plaintiff is a residence ofAshley County, Arkansas. Defendants are attorneys
in St, Louis, Missouri and they advertise as specialists in railroad cases.

2. That Plaintiff entered into a contract With Defendants for Defendants to represent him
on an injury case against 'Union Pacific Railroad Cornpany (“UP”). See Exhibit “A”.

3-. rhai Dereiidams tied Plain`iirrs complaint against UP on october 23, 2013. see
Exhibit “B”.

4. UP filed its answer on November 25, 2013. See Exhibit “C”.

5. That paragraphs 22 and 23 ofUP’s answer specifically plead insufficiency of process
and insufficient service ofprocess.

6. Defendants were on notice that there was a service of process issue and process issue.

7. Defendants did not conduct discovery or do diligent research or investigation to

determine if UP was correct in paragaphs 22 and 23.
F!!..ED FOR RECORD

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MAR 06 2017

  

 

i-“» Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 8 of 32 Page|D #: 11

8. That UP filed its motion to dismiss Plaintifi’s complaint on July 20, 2015 which is
sher the statute cf limitations had expired See Exhibit “D”.

9. That the Plaintiff’s case was dismissed on September 17, 2015 without prejudice
See Exhibit “E”.

10. That UP appealed and the A_rlcansas Court of Appeals reversed on the issue of
whether the case should be dismissed without prejudice See Exhibit “F”.

11. That after the case was remanded, Defenth filed another lawsuit against UP.

12. UP filed another motion to dismiss which was granted with prejudice See Exhibit
“G”.

13. That Defendants never told Plaintiif that the case was dismissed at any point of the
representation either in 2015 or 2016 which is in violation of ethics rules for Arlcansas lawyers.

14. Defendants at all times had a duty -to keep the client informed and updated on their
representation of him.

15. ThatpursuanttoAMl 1510 Defendantshad aduty to possess and use withreasonable
diligence the skill ordinarily used by attorneys acting in the same or similar circumstancesl

16. 'Ihat Defendants’ actions are the proximate cause of Plaintifl"’s damages.

17. That Plaintift` would have prevailed in his lawsuit against UP but for Defendants’
negligence

18. That paragraphs 7; 8 and 9 of the complaint Defendants filed set out Plaintifl’s
damages.

19. That Plaintiff has incurred physical injury, medical bills and loss of income and will

incur the same in the future

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Case 1:17-cv-OlO25-SOH Document 1-1 Filed 03/31/17 Page 9 of 32 Page|D #: 12

20. Plaintiff’s damages exceed $1_00,000.00.

21. Plaintiff requests punitive damages against Defendants because they tried to hide
from Plaintiff that his case had been dismissed, appealed and subsequently dismissed with prejudice

22. Plaintiff requests a jury trial.

WHEREFORE, Pla.intiff, Brian Skender, requests this Court grant him judgment against the
Defendants, C. Marshall Friedman, P.C., C. Marshall Friedman' and Kenneth E. Rudd, Jointlyl and
Severally, for compensatory and punitive damages all in excess of $100,000.00, and for all other

proper relief, including costs and attomey’s fees.

Respectl"ully submitted

@ns maj
Sandra C. Bradshaw 472-le 43 3 70
P.o. Box 249

215 Main Street

Crossett, AR 71635

370 /3@4- é/am

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Joi$ les

Arkan as Bar No. 89003
'I`exas Bar No. 0_0797922
OGLES. LAW FIRM, P.A.
200 S. JeffDavis

P.O. Box 891
Jacksonville, AR_ 72078
(501) 982~8339

iogles@agl.com

 

_ L”‘“"_Uase f:l?-cv-OlO25-SOH DOCument~l-l Filed 03/31/17 Page 1Q 0{`?_32 Page|_D #: 13

 

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For your services I ages to pay you a sum equal to 25%* fthe
whether same is recovered by compromise or by snit, plus expenses.**

1 have fully read and understand time “lecrns and conditions" section below and l agree to
the association of additional lawye:r(s) outside of the Law OEces of Ci Marshall Friedman,?.C.,
at no additional cost to me, if this will fluther my case

 

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Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 11 of 32 P_age|D #: 14

lN THE ClRC.UlT 'GOURT.OF J`EFFERSON COUNTY., ARKANSAS

BRlAN SKENDER,

Plaintiff. _
Person-ai injury
' v. Fed. Emp, Liab. Act
UNlON PAC[FIC RA|LROAD
COM'PANY,
_a Corpora_tiol"¢.

CauseNo:W_ Z_g]_‘p -jzz_p

SERVE:
Reglstered Agent .
The Ccrporation Company
124 We_st Capiiol Avenue

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)
Suite 1900 )
-Little Rock, AR 72201 )
)
Defendant. )
COMPLA!NT
Comes now Pia|ntiff BRIAN SKENDER, by and through his attomeys, and for
his cause ct action against defendant Union Pacific Railroad Company states as
foilows:
1. Defendant.Union Paciiic Rai|road Company\(UPRR) is ncw'and was
at all times herein mentioned a duly organized _and existing corporation engaged in
` the business of operating a railway system ln Interstate commerce
2. At all times herein ment|oned. P|aintiff has been employed by the--
defendant`as a carmen and engaged with the defendant in interstate commerce and
in the furtherance of interstate commerce

3' plaintiff'is a citizen of tile U"|f€_d States of America and invokes the
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Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 12 of 32 Page|D #: 15

n'gh`ts. privileges and immunities of his citizenship including those recognized and'__
protected by the L_inited States Constitution including Articies iV. Section 2; and
Amendment XiV thereto.

4. - This action is instituted and prosecuted under the applicable
provisions of 45 USC §51 et seq., commoniy_known as the Federai Empioyers'
Liabiiity Act.

5. On Wednesday; Juiy 11, 2012. while engaged in the course and
scope of his employment as a cannan and working in the supply area at UP'RR’s
Pine Biuff Arkansas .Repair Track. Piainitff was manually carrying and transporting
an AB brake piston when Piaintiff suddenly slipped on a wet and muddy concrete
walkway and work surface and fell striking the ground. ,As a resultl in whole or in
part,r of the defective and insufficient condition of the concrete`waikwa-y and work
surface, the negligence of defendant U_PRR. its agents, servants and employeesl
as described hereafter, and the occurrence described above, Piaintiff sustained the
seriousl painfull progressive and permanent injuries mentioned beiow.

6. Piaintiff states that the aforesaid occurrence and his injuries and
damages resulted, in ‘wh_oie o'r in part. from the negligence of defendant UPRR. its

agents, servants, and employees in the following particulars:

a. Defendant failed to provide reasonably safe conditions for
work and defendant knew or, in the exercise of ordinary care.
should have known of such conditions and that such conditions
would reasonably likely cause substantial harm;

b. Defendant failed to provide reasonably safe methods of work
and defendant knew or, in the exercise of ordinary care, should `
have known thereof and that same would reasonably likely

 

"~ Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 13 of 32 Page|D #: 16

_ _...

1_=.-_ F§_i_i$e__silbstantlai harm;
_._i_le_fendant failed to provide reasonably safe toois, equipment
and appliances for work and defendant knew or in the
exercise of ordinary care1 should have known thereof and that
same would reasonably likely cause substantial harm-:
dl n l;.'i__isféiidani failed to provide reasonably proper supervision and

_____dsfendant knew orl in the exercise of ordinary care, should
have known thereof and that same would reasonably likely

cause substantial harm:_

__Defendant failed to provide a workplace free from recognized
hazards that were likely to cause serious iniury.

?. As the"resuit, in whole or ln part, of the aforesaid occurrence_ancl the
negligence of the defendant its agents, servants and empioyees, plaintiff sustained
_serious, painfui, permanent. progressive and disabling injuries to his.low back,
lumbar splne, and right forearm. _The foregoing occun'ence activated. accelerated
and aggravated conditions thereof. As a result of the foregoing, Piaintiff has
suffered and will forever suffer severe pain. numbness, limitation of motion. function.
diminished refiexes,'io'ss of strength, and loss of use ofthe foregoing, and that _
plaintiff will sustain traumaticaiiy in.duced. activated, aggravated`and accelerated -
arthritis changes as,a_ `re`sult‘itle.reof

. 8. As a resirii`. in `whdie_' or in part, of the aforesaid occurrence and the

_ negligence of the defendant its agents. servantsl and employeesl Piaintlff has be`en
caused to undergo necessary medicai, 'diagnostic, therapeutic and surgical
intervention, care §r_i'ci treatmentl has become obligated for the expenses of such

care and treatrner_lt, and will be required to undergo and will be obligated for the

expenses of such careand treatment in the future.

. '§~ :.'»'

 

Case 1:17-cv-01025-SOH Document 1-1 Filed 03/31/17 Page 14 of 32 Page|D #: 17

9. As a result, in whole or in part. of the aforesaid occurrence and the
negligence of the 'd`efendant. its agents, servents,- and empioyess. Piaintifi ha_s
n incurred -a substantial wage and income _ioss and his ability to work and labor has

been and willforever be seriously impaired, dirnlnlshed, lessened and iost.

10. Plainttif requests trial by jury on ali issues which can be submitted to

the jury under ms F.E.LA.
WHEREFORE, Piaintlff prays this Cou[t_enter Judgment in his favor and

against-the defendant and award such sum as is fair and_reasonabie under the
circumstances1 together with posijudgment_`interestthereupon, and hi_s costs
expended herein, said judgment'to be in excess cTiSEVEN'~i'Y-HVE 'iTi-.iOUSAND

DOLL'ARS ($75,000.00). and for any further relief this Court deems lust and

appropriate
C. MARSHALL FRiEDMAN, P.G.

sY:M .M

KENNETH E. RUDD. ABE #91202 ‘
1010 MarketSbeeL Suite 1340

St. Louls, Mlssouri 6310‘!

E‘hone: (314) 621-8400

Faxi (314) 821 -8843

SANDRA G. BRADSHAW
P. O. Box 249

215 Main Stneet

Grossett, AR 71635
P_hone: {870) 364-4300
Fax: (870} 364-4333

 

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v. ' j Ne= cv-2013-532-2 . __.

union PAchlc'nArl. 'oAn‘

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a Gorporation, - _ ..
oEl=ENoANT(s) //,/;/§/Si

Registcred Agent-
The Corporation Com ny

124 West Gaplto_l 'A'\re e

'Slllf€ 1900 . ` ' '
`l_.llue noek, nn 12201 ‘
cl.AllleNT(s) `

 

.SUMMCNS

 

  
  

Tl'lE STATE OF AR AS TO DEFENDANT= Regisfel'_ed Agent, The Corporatii:m

Compa_ny, 124 West C pitol Avcnue, '$ui_te 1900, Lit.'i:ie Ro`ck, Ar. 72201

A lawsuit has been filed ag inst you. The relief demanded ls stated in the attached complaint
Withtn 30 days after servic of this summons on you (not counting the clay you received tt) __ or lo
says if you lncarcerated in ny jail, penitentiary, or ot:h_er. correctional facility ill Arkansa's - you
must file \llri`th the clerk of is court a written answer to the complaint or motion under Ruie 12

of the Arkansas f_lules of C l Frocedure.

Tho answer or motion male

address are: Kennoth E.R

also be served on the plains iff or plaintiffs aitorl~lcy, whose name and
_dci, 1010 lillarket Street, Thirteenth Floor, St. Louis, MD 63101

if you fall to respond withi_ the applicable time period, judgment by default may be entered
against you for the relief d mandell in tile complaint

l.afayetle weede, sr., circuit clerk

P.o. aox_rass “LED in ‘li-/i;~wl DW\L\_r/io o..c.

Pine Biuff, AR 716'1 1
clerk er Deputy clerk

luovlszols 2.__ __
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find 5 farrell .-uus_ _

 

. Case 1:17-cv-0102-5-SOH Document 1-1 Filed 03/31/17 Page 16 of 32 Page|D #: 19

PROOF C|F SERV|GE

' L'l i personally delivered the summons and complaint to the individual

at - on _ .
IJ l left the summons and complaint in the proximity of the individual
' after helshe refused to receive it when -I offered it to l

[date}; or

 

by
. himlher: or -
E| -l left the summons and complaint at the-individuan dwelling house or usual place of
abode aL ' laddress]

 

with lname],'a person at least 14 years of age wh'o resides

there, on ` n ` - ldate]' o , ' .
Ez -l delivered the summons and complaint while G§'&m‘llhd. Q'm¢%:lame of

individual], and agent authorized pol Mr by` law to receive s ce of

sumgogs § penalfof ll ,Lu- r'@ M-!G g [name of defendant]

o cf

7 date]; or
Ei iam the plaintiff or an attorney of record for the plaintiff in this iawsuit, audi served

the summons and complaint on the defendant by certified maii, return receipt
requested, restricted delivery, as shown by the attached signed return receipt-

lZI l am the plaintiff inn this iawsuit, and_i mailed a copy of the summons 'and complaint
first-class mail to the defendant together with two copies of a notice and '
acknowledgeth and received the attached notice and acknowledgement form

within twenty days after the date of malilng.

 

 

 

 

    
  
   
 

 

 

 

 

El Other[specify]='
|J- l was unable to executed service beezusg=_
My fee is$
. h\\‘\ `l\ SHEWC '
To be co pl d if service is by a sheriff or depo w . M . __ HOHADAH
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To.he completed if service ls by a person other than a sheriff or deputy sheriff=
nate=______'______ By= ' - .
[Signature of server]
[Frinted name]
Address;
Fhoner

 

Suhscribed and sworn to before me this deter -
My_ commission expires;____'______________ j _
` Notary Puhilc

 

Additional information regarding service or attempted servicer

 

q

Case 1:17-cv-01025-SOH Documem 1-1 Filed 03/31/17 Page 17 of 32 Page|D #: 20
l"` . `l
IN 'I`I-IE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS

BRIAN SI€ENDER. MF

vs. _ . cAsE N<_)`. cV-2013.532-2

UNI_oN PAcIl=lc mannvo comm DBFEMJANT

DEFENDAN_T’S M§H- B TO PL_A]NTE.I’S COMPLAINT

COMES NOW the Defendani, Union Paciiic Railrcad Company, and for its Answer to
the Compiahn states

1`. Dcrcndcc:cdmilcnc cllcgccccc ccccclccd icch 1 cfccccmplclrn

2. ncrch came thc cucgcnccc ccccciccd icpcrcgrcph'z cflhc occupch

3. ncgcrdicgtl_cc nlcgcciccc ccclclhcd icpcrcgrcph 3 ~cfchc ccmplclc:, Dcfcccccl:
admits ncr Plclcllclc c cicccc cfoc Ucllcd sales cfAmcricc marcel cccrcccc cmc Uciccd
Sta.tes Coostitution,but dcnies Th¢. application hcrcin.

4. ocfcccccr came mc casccccc cf 45 U.s.c. § 51, cr ccq., but dccicc is
application herein Defendanx is without slrll§lcicnt l'nfonnaiion to admit or deny the remaining
allegations contained within Paragraph 4 oflhc Plajniifl°s Complai:nt.

_s. . Dcrccdccl ccecclhc cncgcliccc ccccclccd winn th 5 crnc Plclclin'c

Cornplaint.
6. Dcfmdanl: denies the allegations contained within Para_graph 6 ofthc Piainlifl’s

Ccmplaint, including all sub-parts.
Defendant denies the allegations contained within Paragraph 7 ofthc Plaini.ifl’s

lFl[L_E[DJ

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Complalnt.

EXH\B\T ,_.(`4_-

 

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»»

8. Defendan:t denies the allegations contained within Paragcaph 8 of die Plainiifi’s

complaint
9. Defendant denies the almaaaons contained within ratemath otthe Plainti'a=s
complaint l
lo. Dedeudant also demands aims tiial.
li. Defendant denies the allegations contained within the MIEREFORE clause _of

Plaintiff’a Complaint.
12.` Defendant reserves the right to amend ita Answer by asserting other aEmmive

' de£enaes as they become evident throughout the course of disoovery.

13. All allegations not admittedheieinaie saecincally and genetally denied

14. Pleadiug aaamiatively, ii die Plaintifi sustained any injiiiy ca damages such
injury or damages were caused by the P]ainti&’s own fault andlor the fault of others for whom
this Defendaan had 110 legal responsibility

15. pleading ainnmatively, onion Paciac states that sicli pay, medical hills
simplenental hesitate advances addict aaiitoad neat-eisen Boaid tenants may have been paid
to or on hehalfofPlaintift'eo Union Pacidc may heetrl:itledto night ofset-oft`andoE-aet.

16. Pieading amenanvely, the Deteadan't states that Plaiaaft's complaint fails to
state with sufficient particularity _or dedniteness, the manner in which the alleged negligence on
the part of the Defendant caused oroontrihuted to the cause__of Plainiifl’s alleged injury and
damages.

17. Pleeding amnasdvely,i>iainiiffhas iaiiedto mitigatehis damaged

is. To the extent ilaiatia"was aware oihis`iajmy(s) thiee yeais prior to this lawson

being dled, Defendant pleads statute of limitations as an affirmative defense

 

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-(_.. _ . {___,
_ 19. ` rleai_iiag ammaiively, Plaiaiifas- complain fails co sara roots a`p_oa which relief
canbe granted. ` n '

20. Pleading aHirmatively, Piainiiff's negligence was thc sole cause of anyinjmics or
damages Piaiaiifflias assumes ` '

- 21. Pleadiag ammelively, Defeedoni assess ihai Plaieiirss alleged iajaeies aaa
damages were calrsed, in whole or inpart`, bypre-existing conditions and/or other contributory or
ooncnn.'ent conditions or factors, including events oocm:ring prior or subsequent to the
ooeaieeaee(_s) seeds she basis or messrs complains against Defendani,' sash east responsibility
for soon damages sadler iajaiies shearn be apportioned aoaoo'g pra-exisiing, oonuibuiosy. os
concurrent factors. .

22. Pieeding emimaiiveiy, Derenaaaiscaies`iasaaieiesipeooess.
23. Pleadiag amsaiaiiveiy, Defeaaaoi states iasiifiioieac sesviee ofpsooess'.
24. needing amiaialiveiy, Defeodaai ecause ives mere .is a leak of pesoaal

joeisdieiioa aaa salajeoc issues jassaiosoai over nereeiiaai.
25. Pieading afdnnaiively, Defendant states that this matter is barred by accorde

satisfaction reicase, and prior payment

26. Union Paciic reserves its right to further amend its answer_and defenses herein
based on timber discovery and as justice maymuire. Specificaily Union Paciiic; reserves the
right to plead iinthcrand reserves objections on the basis of pendency of another action between
the same parties,arising out of the same meach or occirrrence, improper venuc, failure to join
a party under Rule 19, and the afiirmative defenses available under R.ule 8, including bntnot
limited to arbitration and award, discharge in baukruptcy, payment, releaae, resjudicata, statute
cf nands, waivcr, and any other matter constituting an avoidance or -af§nnativc defense.-

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Case 1:17-cv-OlO25-SOH Document 1-1 Filed 03/31/17 ' Page 20 of 32 P_age|D #: 23

whasssoss, Deseaoasi hereby answers see Plaiaiia's complains aaa is esiiaed ao as
dismissal as set out above, its fees and expenses and all other relief to which it may be entitled

Respectii!lly submittcd,

lIatncs_ C. Baker,_Ir. #36009 _

J'amie Huffinan-Iones #2003125'
FRIDAY, ELDREDGE & CLA.`RK, LLP
400 West'Capitoi_. Avenue, Suite 2000
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(501) 370-1430 - Telephone
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jjones@ii'idayiirm.com - Emai_l

Defendants Ui:ion Pac§fic Raiiroaa' Comparnv

 

 

CERTIFICATE OF SEIWICE

I, Ia.mes C. Bakes, Jr., hereby ' that a copy ofthc foregoing has been served upon
the following counsel of record on this 22 day of.Novembcr, 2013:

Keameth E. R.udd Sandra C. Bradshaw
c. Mas_shait Feiedmsii, P.C. F. 0. Boi_s 249
1010MarketStreet,Suitc 1340 215MainStrect §
St. I._.ouis, MO 63101 Crossett, AR 71635

    

 

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Case 1:17-cv-OlO25-SOH Document 1-1 F_i|ed 03/31/17 Page 21 of 32 Page|D #: 24

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]N THB C]RCUIT CO_URT OFETEFFERSON COUN'IY, ARK.ANSAS

asian eastman _ _ ' ramos
vs. class No. cv-2013- 2_2_

UNION PABIFIC RAILROAD COMPANY DEFE!*U)AN_I`

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MMIS MOTION TO DISMI§ PLM_ 11 E_ .’S QQMPLAINT

roe ila Moeion eo nismlss, passion onioa raise naileosd company (“_Union Peeise")
states as follows: v l "

_l. ` No summons was served oh llnion-Paoii.ic, resulting in a defective and improper
service and service ofprooess. See Ark. R. in. P_. .IZ(b)(4)-(5). Plaintift` had to obtain proper '
service onaeaeiendanesniaain 120 dayssoniilieiilingorsse engineleoniplaine saeselie.
Je,@srson Hoap. assn 96 `A:`el<. App. 233, alicea-241 small 276,- 277-rs (2006) (indiealing
that the original or amended complaint must`be properly served within 120 days ofthe filing of

_ lana original eeai'plaini). ' ' ' _

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WHDBFORE, premises consideredl UnionPacii"tc Rai'lmaii Company respectfully_reqriests that
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Respectlii]ly submitted, 1

Jsrnes C; Bskc`t, Jr. _#$6009
Jamic_ HuB`:nan Ioncs #2003125
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jjoncs@frtda' yfn'm.coih - Email
Defndms Union Pacy'ic Ratirorrd Comparnv

 

ga rmcarn op gang

I, leases C. Balcer, Jr., herebyr
the following counsel ofrecord on '

Kennelih B. R.udd
C. Marshail Friedrnan, P.C.

1010 Market Slreet, Suitc 1340
St. Louis, MO 63101

lol'oo.lanrianale.l

' thatacopyoftheforegoinghasbeen served upon _ -
_ y ofJuly, 2015:

 

 

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Case 1:17-cv-OlO25-SOH Document 1-1 Filed 03/31/17 Page 23 of 32 Page|D #: 26

.IN THE CIRCUIT COU'RT OF JEFFERSON GOUNTY, ARKANSAS

BRIAN SKENDER.
Plaintlfi',
\_I.
UNION PAC|EIC RA|LROAD

COl\/|PAN¥,
a Corporationl

Cause No: CV-2013-532-2

Judge Robert Wyatt, Jr.

“-*v`-I\-f\_d`_¢~._/VV~._;`._¢

Defendant.

ORDER

On the 17th day of September. 2015, Defendant Union PaciHc Railroad
Company's Motion to Dlsmiss Complalnt was called for hearlhg. Filed with the Courl
before the hearing date and considered by the Court were Defendant's Motion to
Dlsmiss Plaintlfl’s Corhplaint with attached Exhibit ‘l -Affidavll of Amy |V|cLaren,
Defendant's Memorandum of Law ln Supporl of Defendants Motlon to Dlsmiss
Complaint Defendants Supplement to lts Motion to to Dismiss Plaintiff's Complalnt,
Plaintiff Brlan Skender' s Response to Defendant Union Paciiic Railroad Comp_any' s
M_ot_ion to Dismlss Cornplalnt with Exhibits A B,. C, and D Plalntlfi's Ob]ectionsllvlotion
to S'tril<`e.l Affldavit of Kenneth E. lFtudd. P|aintiff's Request the Courl Take Judicla| Notice
Pursuant to Rule 201 , Defendants Rep-|y in Support of Its Motion to Dismlss Plaintlff‘s
Comp|alnt and Response to Objections to Motlon to Strike and Response to Request to
Take Jiidicla.| Notice, Plalnt'rff's Second`Objections and Motion to Stl_'il<,e, and
Defendants Response to P-lalnt'rff's Seco`nd` Obje_ctions_ and Secorld lVlotlon t_o Strlke.

The parties appeared by counsel Jamie Jones for Defendant, Unlon Pacific
Railroad Company, and Kenneth E. Rudd for _P|alr_ltiff Brian Skender, and oral
arguments were presented No testimony nor any new or additional exhibits were
offered into evidenceat the hearing The Court finds that this civil action was li|ed on
Oclober 25. 2013, and that Deputy Courl`Cle-rk Rol_and Daniels issued the summons on
that date. The Cou'rt further finds that service of process._both summons and complaintl
was completed within 120 days of the filing date by Pulsski County Deputy Sheriff Ken
Tumer serving the summons and complaint on The Corporatlon Company, Defendant

Union Pacilic Railroad Company's registered agent orl. =2013. This Court
further linda that the summons so served was deliclent=i E§D D»to include the

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Case 1:17-cv-OlO25-SOH Document 1-1 Filed 03/31/17 Page 24 of 32 Page|D #: 27

name “Union Pacliiic Railro`ad Compan_y' and address following the phrase “THE
STATE OF ARKANSAS DlRECTED TO DEFENDANT' on the summons and, thereby,
failed to comply with Ru|_e 4 _(b) ARCP. Shotzma_n v. Berumen, 363 Ark_. 215l 228, 213
S.W.Sd 13, 20 (2005) and Hali v. State Farm Bank, 2015 Atk.App. 287 (Ark_.App.Div. iiil
May 6, 201-5) The Court further finds that the timely completed service of the` deiicient
summons and the complaint by the i'-_’ulaskl Co.unty Sheriff's Oche within 120 days of
the iiing constituted the timely commencement of this FELA civil action within the
meaning of Ciouse v. Tu, 101 Ark.App.ZBD, 274 S.-W.3d 260 (Ark.App.ZDDB) so that
Defendant L_lnion Paclfic'Railroad Company's_motion to dismiss with prejudice premised
upon Defendants contention refiling is barred by expiration of the applicable statute of
limitation is DENIED. This Courtl however, hereby DiSMiSSES the current compiaint,
without prejudice, pursuant to Rule 4 (l) ARCP.

lT lS SO ORDERED.
Robert Wyatt, Jr`. C'rcutt Court Judgel Divisicn 2
`Jefferson County Ci suit Court

iO_-ic'-i_§_

Date':_

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Case 1:17-cv-OlO25-SOH Document 1-1 Filed 03/31/17 Page 25 of 32 Page|D #: 28

489 S.w.3d 116 (2016)
2016 Ark. App. 206

UN|ON PAC|F|C RAiLROAD C_tlfli|titPAiitYl Appellant
v.
Brian SKENDER, Appetiee.

No. Qy-]5-1059,
Court of Appeais of Arkansas_, Division i.
Opinion De|ivered Apiil 13, 2016.
177 *'177 Appeal from the Jefferson County Circuit Court [No. 350V-13-5_32], Honorable Robert H. W'yattl Jr., Judge.
Reversed and Remanded on Direct.Appeal; Afiirmed on.
Friday. E|dredge & C|ark, LL_P, Littie Rock, by: Robert S. Shafer and Jamie Hufiman Jones. for appellant
McKissic & Assoclates, PLLC. Pine Biuif. by: Jackie B. Harris, for appellee.
PHiLLiP T. WH|TEAKERl Judge.

This appeal arises from the dismissal without prejudice of a Federa| Emp|oyers' Liability Act (FELA)[ll complaint tiied by
appellant, Brian Skender. against the Union Pacitic Raiiroad Company (UPRR). UPRR filed a timely notice of appeal of
the trial courts determination that the complaintshould be dismissed without prejudice (i.e.l direct appeai). Skender then
iiied a timely notice cf cross-appeal from the trial court's determination that the summons was fatally deticient. We
reverse and remand on direct appeal. We atiirrn on- cross-a-ppea|.

l. Validity of Summons

Because a tinding of error on the cross-appeal would cause the direct appeal to be moot, we address it iirst. in orderto
address the merits of the cross-app.eat, a brief understanding of the facts and procedural history of the case is essentiai.

On Juiy_11. 2012. Skendsr was injured while working at a UPRR repairtrack in Pine Btufi, Art<ansas. He timely filed and
served his FELA ciaim`agalnst UPRR on October 25, 2013. UPRR filed an answer denying Skender's claims and
pleading, among other 12(b) defenses, insufficiency of process and insufficiency of service of process.

On Ju|y 25, 2014, shortly after the statute of limitations had mn on Skender's claim,Igl UPRR tiied a motion to dismiss
with prejudice, alleging that it had not been served with a summons. Skender responded. asserting thatsummons had
been served with the complaint and attaching the Sheritt’s proof of service indicating that a copy of the summons and
complaint had__been served on Th'e Corporation Company. UPRR's registered agent for service of process. UPRR then
renewed its motion, contending that the summons purportedly served with the complaint was fatain defective in that it
was directed to its registered agent rather than to`UPRR. Skender responded denying that the summons w`as fatally
deticient. Afiier reviewing the pleadings and hearing arguments of_counsel, the trial court granted UPRR's motion to
dismiss tinding the summons was fatally deticient. in his cross-appea|, Skender challenges the trial court's determination
that the summdns issued in this case was fatally deticient. We now turn our attention to the summons issued by the clerk

in this case.

Our attention to the summons will focus on two sections: the caption of the summons and the "directed to" provision _oi
the summons. The caption correctly designated UPRR as the defendant in the actionl butt_hen listed its registered agent
as a "Ciairnant."'ihe "directied to"l provision ofthe summons then provided. in nart.

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178 ` Capitol *178 iiivenuel Suite 1900, Litt|e Rock, Ar. 72201 A` lawsuit has been filed against you. The relief
demanded is stated in the attached complaint Within 30 days after_service of summons on you (not
counting the day you received it) you must tile with the clerk of this court a written answer to the
complaint or a motion under Rule 12 ofthe Art<ansas Rules of Civi| Procedure.

(Emphasis added.)

Clearly the "directed to" provision of the summons incorrectlylisted the The Corporation Company. rather than UPRRl as
the defendant againstwhom the lawsuit was pending, the defendantwho had been servedl and the defendant
responsible for filing an answer. The trial court found that because the summons failed to include the name "Union
Pacitic Railroad Company" and its address following the phrase '”li-iE STATE OF ARKANSAS DIRECTED TO

DEFENDANT," it failed to strictly comply with Rule 4 of the Arkansas Rules of Civil Procedure.l?'-1

Our lewis well settied. A circuit court acquires no jurisdiction over a defendant unless the plaintiff strictly complies with
the service-of-process rules.' §[mmons L§. P'§hig y, Egch, 2010 Ark_,, 451, 310 §,W.§g 2§1; Cagje vl Te;ugjj' iggL 2015
A$. Agg,' ja‘_l, 458 §.W.Sd 770. Strict compliance specifically applies to the technical requirements of a summons, and a
defendants personal knowledge of the litigation will not cure a fatal defect in tiie summons. See Earfs v. denies Creg'r't
quf. jfi-B, LLQ, 201§ §§ ‘_lZ§, §_-§0 §,W.§d 705l and S fin v S' e ' nc 'ef a Bu C Co
12_0__5‘_,,§&.§_¢|_525_(2_0_03_1. This court reviews a circuit court's factual conclusions regarding service of process under a
steady-erroneous standard, and when dismissal is a matter cflaw, the court conducts a de novo review of the record..

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Our supreme court has held that "statutory service requirementsl being in derogation of common law rights, must be
strictly construed and compliance with them must be exact." v. u 0 A . at 45 .W d 6

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Skendsr acknowledges this ruler but cites to our supreme court's decision in Ngcor gogg. L mem 258 A¢. ng, 126 _
§.W.Sg 720 (2004], to support his contention that a literal application ofthe rule in this case would lead to an absurd
consequence because UPRR never argued that they were not on notice ofthe suitor that they were denied an
opportunity to be heard-. in fact, UPRR timely answered the complaint and participated in the lltigation.

Skendar's argument mustfail fortwo reasons. First. our supreme court has clearly held that a defendants personal
knowledge of the litigation does not cure a fatal defect in the summons. Eari§ g. HaMst §§ d[t Mgmf, Vi-B, j=L_C_, supga.
Secon'dl the Numr case cited by Skender is distinguishable in Nucor, the defendant was correctly named in the
s'ummons, but its codefendants were not.` Thus, Nucorwas clearly apprised on the face of the summons of the pendency
of the suit against it. Herel UPRR was not correctly named in the summons. Whi|e it was listed as the sole defendant in

179 the caption. the summons was not directed to it in the body ofthe document as required under *179 our rules. To make
matters even more conti.ising. its registered agent-which was inexplicably listed as a ciai-mantin the caption -» was
listed as the defendantto whom the summons was directed in the body ofthe summons. Ttiusl unlike Nucorwho was
correctly listed in both places in the-summons, UPRR was incorrectly identified Thusl the trial court's determination that
the summons was fatally deficient was not-in error.

ll. Dism_iss`al i/l/ith or Without P.rejudfce

We next turn to the issue on direct appeal -whether the dismissal should have been issued with or without prejudice
Below, UPRR argued that the court should dismiss with prejudice due to the defective summons. Whiie disagreeth that
the summons was defective, Skender argued, in the altemative, that equitable tolling would allow a dismissal without
prejudice. The court found thatthe refiling ofSkender's claim was not barred by the statute of limitationsl citing an

Arkansas savings statute case,M-1 and ordered the dismissal to be without prejudice UPRR contends that the trial court
erred in applying the Arkansas savings statute in a FELA action and that, because the statute of limitations had run on
Skender's claim1 the triat_court erred in dismissing the complaint without prejudice. UPRR also contends on appeal that

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Wé agree with UPRR's contention thatthe trial court erred in applying the Arkansas savings statute. Re|ying on Qi_qgse
L_E,_s_gg@ an Arkansas savings statute case, the trial court ruled that because service was perfected within 120 days
of the timely commencement of the FELA action, Skender was not barred by the statute ofiimitati`ons from renting his
complaint However, the United States Suprem_'e Court has clearly stated that the savings statutes of the individual states

donotapp|yin‘FELAactions.See u v . n RR . 8 U .42 857 L .2 9 1 19 5.
'i`hus, the trial court's reliance on tire Arkansas savings statute was erroneous as a matter of law.

'ihis does not automatically conclude Skender's case, however. Federat law also allows the statute of limitations to be
tolled under certain circumstances and Skender argued to the trial court that equitable tolling should apply in this case.
Because the trial court found that the savings statute applied, it did not make any findings with respectto Skender's
equitable tolling argument As a resutt, we remand this issue to the trial court-to make the requisite indings on whether
equitable tolling ls available to suspend the statute and whether dismissal with orwithout prejudice is appropriate

Reversed and remanded on direct appeal; affirmed on cross-appeal
Giadwinl C.J., and Han'ison. J., agree.

[1145 U.S.C. § 51 et seq.
121 A FELA claim has a three-year statute of ltrrritationsl

f.§],Arkansas Rule oil leil Procedure 4(b) (2015) governs the form and content of a summons, including that it shall "be directed to the
defendant." Hat \_f te a Barik 2015 Ark . 287 2 462 -S. 3 0 7 3.

|'£| Cbus_e v, Tg 101 A[jg AQQ, 269, 274 S.W.3d 344 1200§1.

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counsel ten arguments fciibutlnjs; mcmanus-abuses i\iui,ri‘tisr 'fiii~QfQii:S-'Sle.-'Zl bsi

 

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